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                                  UNITED STATES DISTRICT COURT
                                    DISTRICT OF CONNECTICUT

------------------------------------------------------x
                                                      :
UNITED STATES OF AMERICA                              :   Docket No. 3:14MJ00170(HBF)
                                                      :
v.                                                    :
                                                      :
TIMOTHY THOMAS                                        :   November 25, 2014
                                                      :
------------------------------------------------------x


             MOTION FOR HEARING TO MODIFY CONDITIONS OF RELEASE

        The defendant, Timothy Thomas, requests that the Court conduct a hearing on a date between

December 3, 2014, and December 11, 2014, to address a requested change in the conditions of his

release on bond.

        Mr. Thomas was presented in federal court for the first time on August 21, 2014, at which time

he was ordered detained at the Wyatt Detention Center. On October 20, 2014, he was ordered released

on bond on the condition that he reside in an inpatient treatment facility. At that time, the parties

contemplated that when Mr. Thomas completed his stay at the inpatient facility he would return to Court

for reconsideration of the conditions of his release.

        Mr. Thomas has been doing very well at the facility, and his caseworker has recommended that

he move to another level of services. A new supportive housing program has been identified that has

accepted Mr. Thomas, and he can be transferred in early December.

        Accordingly, the defendant requests that the Court schedule a hearing within the identified time

frame to consider Mr. Thomas’s continued release under amended conditions, to include residence in

a supportive housing community.

        Undersigned counsel has provided a copy of this motion to United States Probation Officer
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Meghan Nagy and to counsel for the government, Assistant United States Attorney Jennifer Laraia.

                                                       Respectfully submitted,

                                                       The Defendant,
                                                       Timothy Thomas

                                                       Office of the Federal Defender



Dated: November 25, 2014                                 /s/ Sarah A. L. Merriam
                                                       Sarah A. L. Merriam
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                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on November 25, 2014, a copy of the foregoing motion was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing will
be sent to all parties by operation of the Court’s electronic filing system or by mail to anyone unable
to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access this filing
through the Court’s CM/ECF System.


                                                    /s/ Sarah A. L. Merriam
                                                        Sarah A. L. Merriam
